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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-MJ-04544-LMR

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  TAL ALEXANDER,

         Defendant.
                                                /

   ORDER DENYING DEFENDANT’S MOTION TO REOPEN DETENTION HEARING

         This cause is before the Court on Defendant Tal Alexander’s Motion to Reopen the

  Detention Hearing in this case, pursuant to 18 U.S.C. § 3142(f) and to stay removal of this case to

  the Southern District of New York. [ECF No. 22]. The Court has reviewed the Motion,

  Defendant’s Supplemental Brief [ECF No. 28], the Government’s Opposition [ECF. No. 31], the

  documents submitted in support of the parties’ filings, the pertinent portions of the record, and all

  relevant authorities. For the reasons addressed below, it is ORDERED that the Motion [ECF No.

  22] be DENIED because none of the reasons Defendant cites meet the requirements of 18 U.S.C.

  § 3142(f).

                                          BACKGROUND

         Defendant Tal Alexander has been charged in a superseding indictment by a federal grand

  jury in the Southern District of New York with sex trafficking conspiracy from at least 2010

  through at least 2021, in violation of 18 U.S.C. §§ 1591(e)(12), 1591(a)(1), and 1594(c) (Count

  One); sex trafficking of Victim-1 by force, fraud or coercion in 2011, in violation of 18 U.S.C. §§

  1591(a), (b)(1), and (2) (Count Two); and sex trafficking of Victim-2 in 2016 by force, fraud, or
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  coercion, in violation of 18 U.S.C. §§ 1591(a), (b)(1), and (2) (Count Three). 1 [See Superseding

  Indictment, United States v. Alexander, No. 24-cr-00676 (S.D.N.Y.), ECF No. 3]. 2

         The offenses carry a statutory mandatory minimum sentence of 15 years and a maximum

  of life imprisonment. Because of the nature of the charged offenses, there is a rebuttable statutory

  presumption that no condition or combination of conditions will reasonably assure the appearance

  of the Defendant as required and the safety of the community. 18 U.S.C. § 3142(e)(3)(D).

         On December 13, 2024, the Court held a hearing regarding the Defendant’s request for

  bond pending trial. After consideration of the Defendant’s arguments, the Government’s proffer

  and arguments, testimony from the FBI Special Agent assigned to the case, and the factors set

  forth in 18 U.S.C.§ 3142(g), the Court concluded that the Government had established by a

  preponderance of the evidence that no conditions or combination of conditions could reasonably

  assure the Defendant’s appearance, determining as a result that the Defendant was a flight risk,

  and that detention was warranted. The Defendant remains incarcerated.

         According to the superseding indictment, Defendant, along with his brothers Alon and

  Oren Alexander, “operated a long-running sex trafficking scheme, as part of which they raped and

  sexually assaulted women to whom they had provided material benefits” which included

  “domestic and international travel to vacation destinations, luxury accommodations at high-end

  hotels and vacation properties, and access to other luxury experiences and events.” [Crim. ECF

  No. 3 ¶ 4].




  1
    Alon and Oren Alexanders are Tal Alexander’s brothers and co-defendants. Each are charged
  with Counts One and Three.
  2
    All references to the Superseding Indictment, S.D.N.Y. Case No. 24-cr-00676, are denoted with
  “Crim.”


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         In the detention order, the Court explained that the facts, as proffered by the government,

  established that Alexander and his co-conspirators have been charged in a sex trafficking

  conspiracy spanning 11 years from 2010 to 2021. However, there is evidence to support that

  Alexander has been engaged in this kind of conduct for approximately 20 years. The Court further

  explained the pre-trial detention was warranted because of the strong weight of the evidence, the

  significant sentence Alexander would face if convicted, the nature and circumstances of the

  offense and the personal characteristics of the Defendant. In considering the weight of the

  evidence, the Court noted the Government anticipates testimony from numerous victims and

  witnesses, electronic evidence, physical evidence, and documentary evidence, among other things.

         In finding that Alexander is a flight risk, the Court noted that Defendant is a successful real

  estate agent in the luxury market and lives a lifestyle supported by extensive financial resources.

  The Court noted his international contacts, which included the fact that his parents are Israeli and

  Alexander frequently travels there. He also travels internationally to other countries by private jet

  and by yacht, frequently with little notice and scheduling in advance. Home confinement at his

  parents’ home, as he requested, would give him direct ocean access, and means to quickly flee.

         On December 16, 2024, the Defendant moved to reopen the detention hearing and stay

  removal of this case to the Southern District of New York pending a decision on pretrial detention.

  [ECF No. 22]. He seeks to reopen the hearing on three grounds. First, the Defendant argues that

  the Government’s failure to turn over required Jencks materials at the detention hearing

  immediately after cross examination of the FBI Special Agent is a violation of the Government’s

  obligations under 18 U.S.C. § 3500(b). [Id. at 4]. Defendant argues that he “plainly has the right

  to cross examine [the Special Agent] with any material in the government’s possession that relates

  to the subject matter of the testimony.” [Id. at 5]. Second, the Defendant seeks to reopen the hearing




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  because he “did not have a meaningful opportunity to address concerns raised sua sponte in the

  Court’s decision with respect to his family’s financial resources.” [Id. at 4]. Defendant seeks to

  present additional evidence by way of witnesses and financial statements, including an increased

  bail package and new conditions. These include a bond in any amount secured by the entirety of

  Defendant’s parents’ assets and the retention of a private security service to provide full-time

  armed security detail at Defendant’s home detention. [ECF Nos. 22 at 6–7; 28 at 2]. Third, he

  seeks to “correct the government’s representation that he is not extraditable from Israel, which is

  inaccurate.” [ECF No. 22 at 4].

                                        LEGAL STANDARD

         Under 18 U.S.C. § 3142(f), a detention hearing “may be reopened, before or after a

  determination by the judicial officer, at any time before trial if the judicial officer finds that

  information exists that was not known to the movant at the time of the hearing and that has a

  material bearing on the issue whether there are conditions of release that will reasonably assure

  the appearance of such person as required and the safety of any other person and the community.”

  18 U.S.C. § 3142(f).

         This statutory “provision is, in effect, a codification of a court’s inherent reconsideration

  authority tempered by the understanding that, to promote finality, preserve judicial resources, and

  discourage piecemeal presentations, a court should not reconsider a decision based on information

  that could have been presented the first time around.” United States v. Simmons, No. 8:24-CR-

  200-WFJ-UAM, 2024 WL 3183859, at *2 (M.D. Fla. June 26, 2024) (quoting United States v.

  Pon, 2014 WL 3340584, at *3, 9 (M.D. Fla. May 29, 2014).

         “Courts have interpreted this provision strictly, holding that hearings should not be

  reopened if the evidence was available at the time of the initial hearing” or is not material. United




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  States v. Ward, 63 F. Supp. 2d 1203, 1206–07 (C.D. Cal. 1999). Further, even if the defendant

  submits new information that is material, the statute’s “use of the word ‘may’ indicates discretion

  on the part of the district court. Thus, there is no requirement to reopen a detention hearing . . ..”

  United States v. Smith, 337 F.R.D. 366, 368 (N.D. Fla. 2020) (quoting United States v. Watson,

  475 F. App’x 598, 601 (6th Cir. 2012)).

                                            DISCUSSION

         None of the enumerated reasons Defendant asserts for reopening the detention hearing

  warrant satisfy the requirements of 18 U.S.C. § 3142(f).

         First, with respect to the lack of Jencks material, the Court finds that any Jencks materials

  are unlikely to supply new, material evidence relevant to the Court’s decision to detain the

  Defendant based upon risk of flight. As an initial matter, “‘[t]he Jencks Act applies to any witness

  statement in the United States’s possession that relates to the subject matter of the witness’s direct

  testimony.’” United States v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006) (quoting United States

  v. Delgado, 56 F.3d 1357, 1364 (11th Cir.1995)); See 18 U.S.C. § 3500. “The general rule [for

  Jencks Act materials] is that a defendant is required to request disclosure following the witness’s

  direct testimony.” Schier, 438 F.3d at 1112. (internal quotation marks and citations omitted).

         At most, the Jencks materials may have some relevance as to the weight of the

  Government’s evidence. However, production of such materials at this time would be unlikely to

  move the needle in the Defendant’s favor. First, Defendant’s counsel had an opportunity, and did,

  cross-examine the FBI Special Agent on the length and scope of the investigation and the

  investigative steps taken to obtain electronic communications relevant to the Government’s

  allegations, among several other topics. Second, the Court relied on additional considerations

  beyond the weight of the evidence in determining that Defendant is a flight risk, including the




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  lengthy period of incarceration if convicted and the Defendant’s extensive financial resources.

  Third, the Government anticipates the testimony of multiple witnesses, electronic evidence,

  physical evidence, and documentary evidence, among other things, related to the allegations

  against the Defendant. [ECF No. 24 at 3].

         As Jencks materials relate to detention hearings, at least one judge in this district

  “entertain[s] the Government’s request to not provide Jencks material on a case-by-case basis”

  when “a defendant has already been indicted and there are numerous recorded conversations in

  which the defendant is making inculpatory statements. . ..” United States v. Comas, No. 13-20850-

  CR, 2014 WL 129296, at *3 (S.D. Fla. Jan. 14, 2014). Fed. R. Crim. P. 46(j) requires the

  production of witness statements at detention hearings “unless the court for good cause rules

  otherwise.” The Government asserts that good cause exists here to reject the Defendant’s attempt

  to seek Jencks. [ECF No. 31 at 9]. The Government is concerned that Defendant will use Jencks

  as a means to identify the victims who have come forward and threaten them, because the

  Defendants have threatened victims in the past. 3

         In any event, the Court need not rule on whether Jencks should have been produced to

  make its determination as to whether to reopen this detention proceeding. Here, the grand jury

  found probable cause to charge Defendant with the sex trafficking offenses and the indictment

  includes sufficient detail regarding the allegations that Defendant “operated a long-running sex

  trafficking scheme” and that the Defendants “jointly arrang[ed] domestic and international travel

  and accommodations, and jointly finance[d] the scheme.” [Crim. ECF No. 3 ¶ 2]. The superseding

  indictment further described that the Defendants used social media and dating applications to find




  3
   As explained by the Government in its Response, the sought-out reports, “even in redacted form,
  contain information sufficient to identify the victims.” [ECF No. 31 at 9].


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  victims and booked travel to various locations to engage in the offenses and described the violent

  and dangerous nature of the acts. [Id. at ¶ 5(d)].

          Defendant’s counsel cross-examined the FBI Special Agent regarding her testimony that

  the evidence, as it relates to the victims, includes photos and videos “that depict the Alexander

  brothers engaging in sexual activity with the victims” and communications between the Defendant

  and his brothers “discussing group sex, discussing providing and piling women with drugs in order

  to get them to have sex with them and for arranging for their travel from other states to meet them..

  . .” [ECF No. 30, Det. Hr’g. Tr. 44:12–21].

          In sum, because the evidence would not be material to the Court’s analysis of risk of flight,

  the request to reopen the detention hearing on this ground is denied.

          Next, Defendant seeks to reopen the hearing to present an augmented bail package. [ECF

  No. 28 at 3]. Any information Defendant could provide regarding his or his parents’ finances to

  support a claim of lack of financial incentive to flee would not be new evidence. [ECF No. 22 at

  6]. This also applies to Defendant’s new proposal to “retain a private security service . . . to provide

  a full timed armed security detail at the location of Mr. Alexanders’ home detention.” [ECF No.

  28 at 2]. Defendant could have—but chose not to—present this evidence during the detention

  hearing. Certainly, this information existed and was known by Defendant at the time of the hearing.

  See 18 U.S.C. § 3142(f). See Pon, 2014 WL 3340584, at *9 (“[A] court should not reconsider a

  decision based on information that could have been presented the first time around.”); Simmons,

  2024 WL 3183859, at *2 (finding that the defendant “proffer[ed] no information that was not

  known to him at the time of the detention hearing” and “[a]s a result, there [was] no basis to reopen

  the detention hearing. . ..”).




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         The Defendant also seeks to present additional evidence regarding the Government’s

  representations regarding extradition from Israel. [ECF Nos. 22 at 7; 28 at 1–2]. The Court,

  however, did not rely on the issue of extradition in ordering that the Defendant be detained. Instead,

  the Undersigned relied in part on the Defendant’s “international contacts, which include his parents

  who are Israeli” as well as Defendant’s frequent international travel to Israel and the Bahamas by

  private jet or yacht. [ECF No. 24 at 3].

                                             CONCLUSION

         Based on the foregoing, the Court orders that Defendant Tal Alexander’s Motion to

  Reopen the Detention Hearing based on 18 U.S.C. § 3142(f) and to stay removal of this case to

  the Southern District of New York [ECF No. 22] is DENIED. In addition, for the reasons stated

  in this Order, Defendant’s request for a hearing in connection with the Motion is also DENIED.

         SIGNED this 20th day of December, 2024.




                                                        LISETTE M. REID
                                                        UNITED STATES MAGISTRATE JUDGE


  cc:    All Counsel of Record




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